Case 3:15-cv-00898-RJD Document 79 Filed 10/03/18 Page 1lof2 Page ID #627

IN THE UNITED STATES DISTRICT COURT Fi LL E D
FOR THE SOUTHERN DISTRICT OF ILLINOIS

OCT -3 2018

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS
BENTON OFFICE

DWAINE COLEMAN,
Plaintiff,
No. 15-898-RJD

-VS-

JAMES VINSON, JARED BLESSING, and
DAVID MITCHELL,

Nee SS SS OS

Defendants.
JURY VERDICT
On Plaintiff Dwaine Coleman’s excessive force claim as alleged in Count 1, we find in

favor of:

jwAIvyeE Cole m4y/

Plaintiff Dwaine Coleman or Defendant James Vinson

 

TARES Kuess/VG

Plaintiff Dwaine Coleman or Jared Blessing

 

On Plaintiff Dwaine Coleman’s retaliation claim as alleged in Count 2, we find in favor of:

OAvIDA MITHECLL
Plaintiff Dwaine Coleman or Defendant David Mitchell

 

Note: Complete the following paragraphs on damages only if one or more of the
above findings is in favor of Plaintiff. If you do not find in favor of the Plaintiff on any of his
claims, skip to the second page of the form and date and sign it.
Case 3:15-cv-00898-RJD Document 79 Filed 10/03/18 Page 2of2 Page ID #628

Jury Verdict Form (continued)
We assess compensatory damages against Defendants on Count 1, if any, in the following
amount:

(stating the amount, or if you find that Plaintiff's damages have no money
value, set forth a nominal amount, such as $1.00).

Qo

/—

We assess compensatory damages against Defendant on Count 2, if any, in the following
amount: $ (no more than $1.00)

Note: You may not award punitive damages against a Defendant unless you have first found
against Defendant and you have awarded Plaintiff compensatory damages. State the
amount, or, if none, write the word “none.”

We assess punitive damages, if any, in the following amounts:
go, ;

$ 35000 against James Vinson

$ O against Jared Blessing

g§ (© against David Mitchell

Date: /O-8- OIF

  
  

Presiding juror:
